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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

AARON SMITH                                            )
                                                       )
Plaintiff,                                             )
                                                       ) Case No. 4:12-CV-00682 (JCH)
v.                                                     )
                                                       )
I.C. SYSTEM , INC                                      )
                                                       )    JURY TRIAL DEMANDED
Defendant.                                             )


                                 FIRST AMENDED COMPLAINT

        COMES NOW, Plaintiff, Aaron Smith, and for his First Amended Complaint states as
follows:

                                         INTRODUCTION

        1.     This is an action for statutory damages brought by an individual consumer for

violations of the                                          CP                       .

        2.     This is an action for statutory damages brought by an individual consumer for

violations of the Telephone Consumer Protection Act of 1991("TCPA"), 47 USC 227 et. seq.

        3.     Plaintiff demands a trial by jury on all issues so triable.

                                  JURISDICTION AND VENUE

        4.     This Court has jurisdiction of the FDCPA claim under 15 USC 1692k (d). Venue

is appropriate in this Court because Defendant aimed its collection activity and committed the

violations of the FDCPA described herein at and in St. Louis County, Missouri.

        5.     This Court has jurisdiction of the TCPA claim under 47 USC 227 (3)(b). Venue is

appropriate in this Court because Defendant placed prohibited telephone calls to Plaintiff at




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                                                   PARTIES

         6.      Plaintiff is a natural person currently residing in St. Louis County, Missouri.

                            within the meaning of the FDCPA. The alleged debt Plaintiff owes

arises out of consumer, family, and household transactions.

         7.      To the best of Pla



Defendant began to call Plaintiff as described in this Petition.

         8.      Defendant is a foreign corporation registered in Missouri with its principal place of

business in St. Paul, MN.

         9.      The principal business purpose of Defendant is the collection of debts in Missouri

and nationwide, and Defendant regularly attempts to collect debts alleged to be due another.

         10.     Defendant is engaged in the collection of debts from consumers using the mail

and telephone. Defendant is                                                   15 USC 1692a (6).

                                                    FACTS

         11.

P                                                      beginning on January 19, 2012.

         12.     Despite making regular phone contact with Plaintiff, Defendant has never sent

Plaintiff a written collection notice to a valid address.

         13.

for Plaintiff.

         14.     Even though Defendant knows it has not properly advised Plaintiff of his rights

provided by 15 U.S.C. § 1692g, Defendant has engaged in a scheme to call Plaintiff

continuously within the thirty-day dispute period provided for by 15 U.S.C. § 1692g to try and

badger Plaintiff into paying the debt.



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        15.     For example,                                                                  at

least once per day and sometimes three times per day from January 19, 2012 through January

25, 2012.

        16.

leaves a cryptic message that does not identify Defendant and does not state that the purpose

of the call is to collect a debt.

        17.     For purposes of illustration

from January 19, 2012 through January 25, 2012

        18.     Defendant called Plaintiff twice on January 19, 2012 and, upon information and

belief, left cryptic messages that failed to identify Defendant.

        19.     On January 20, 2012, Defendant called Plaintiff at 9:52am.

        20.     On January 20, 2012, at 1:34 P.M., Defendant again

cellular phone. This time, Defendant left a nine-second voicemail.

        21.     The entire voicemail consists only of muffled voices.

        22.     On January 21, 2012, Defendant called Plaintiff two more times.

        23.     In the first call, at 9:51 A.M., Defendant again left a voicemail.

        24.     During the voicemail, and unidentified speaker asks for Plaintiff and then hangs

up.

        25.     In the second call, at 11:37 A.M., De

cellular phone from the same number, and again left a voicemail identical to the one it left at

9:51 A.M.

        26.     On January 22, 2012, Defendant called Plaintiff two more times.

        27.     In one such call, at 7:21 P.M., Defendant again left a voicemail.

        28.     During the voicemail, an artificial voice says,



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          29.   After the artificial voice speaks, and unidentified human speaker asks to speak

with Plaintiff and then promptly hangs up.

          30.   On or about January 23, 2012, at 8:14 A.M. and then again at 8:51 A.M.,

Defendant placed additional calls                                      he same number, and again

left voicemails similar to the January 22 voicemail.

          31.   On or about January 24, 2012, Defendant called Plaintiff three more times.

          32.   In one such call at 3:11 P.M., Defendant again left a voicemail.

          33.

                                                                   or 40 seconds.

          34.   After the artificial voice speaks, and unidentified human speaker asks for Plaintiff

and then hangs up.

          35.   On or about January 25, 2012, Defendant called Plaintiff two more times.

          36.   In one such call, at 8:37 A.M., Defendant again left a voicemail.

          37.   This voicemail was identical to the January 23, 2012 voicemail.

          38.

          39.   None of the voicemails disclose that they are an attempt to collect a debt.

          40.   Plaintiff and Defendant had, to the best o

                                                                        to ask why Defendant was

constantly calling him.

          41.   For the first time, Plaintiff learned that Defendant was a debt collector calling him

about a debt.

          42.



report.



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       43.                                                                        reported on his



credit report the debt.

       44.                          -

and its threats of credit reporting, over

       45.     Defendant failed to ever send Plaintiff any written collection communication that

was not returned for an improper address.

       46.     Plaintiff never received any written collection communication from Defendant.

       47.

telephone dialing system, as defined by 47 USC 227(a)(1), from the phone number that is

registered to the Defendant.

       48.     All of the above phone calls were made to Plaintiff's cellular phone and he was

charged for those phone calls.

       49.     Plaintiff never entered into any agreement whereby he provided express consent



system.

       50.     Plaintiff never entered into any agreement whereby he consented to arbitrate

disputes between himself and Defendant.

       51.

including but not limited to cellular phone charges, anxiety, sleeplessness, and worry.

           COUNT I: VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT

       52.     Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       53.     In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to, the following:



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       a.        Engaging in harassing and threatening tactics in connection with the collection of



constantly in an effort to harass Plaintiff, and leaving cryptic and disturbing messages to

intimidate plaintiff. 15 U.S.C. § 1692d-f.

       b.        Failing to identify                                                        and failing

to indicate that the call was a collection attempt. 15 U.S.C. § 1692d,

       c.        Failing to disclose that the voicemails were an attempt to collect a debt, and

instead using misleading representations contained in the voicemails. 15 U.S.C. § 1692e.

       d.        Threatening to report the debt to the credit bureaus in an effort to mislead,

harass and intimidate Plaintiff where such threat was false, baseless, and Defendant had no

intent of following through with the same. 15 U.S.C. § 1692d-f.

       e.

       f.        Failing to send written notice within five days of the initial collection

communication. 15 U.S.C. § 1692g.

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        Judgment that Defendant s conduct violated the FDCPA;

       B.        Actual damages;

       C.        Statutory damages, costs and reasonable a                     pursuant to 15 USC

       1692(k); and

       D.        For such other relief as the Court may deem just and proper.

                                       COUNT II: VIOLATION OF THE TCPA

       54.       Plaintiff re-alleges and incorporates by reference all prior paragraphs.

       55.       In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the TCPA, 47 USC 227 et. seq., including, but not limited to, the following:

                                                   6
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       a.        Placing multiple non-emergency phone calls to Plaintiff's cellular phone without

       express authorized consent of the Plaintiff. 47 USC 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully requests that that judgment be entered against

Defendant for:

       A.        Judgment that Defendant                          CPA;

       B.        Actual damages;

       C.        Statutory damages pursuant to 47 USC (b)(3); and

       D.        For such other relief as the Court may deem just and proper.



                                                     RESPECTFULLY SUBMITTED:

                                                     <Richard A. Voytas, Jr.>

                                                     _______________________________
                                                     JAMES W. EASON, #57112
                                                     RICHARD A. VOYTAS, #52046
                                                     Eason & Voytas, LLC
                                                     One North Taylor Ave
                                                     St. Louis, Missouri 63108
                                                     Phone: (314) 932-1066
                                                     Fax:    (314) 667-3161




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                                    CERTIFICATION

The below signature certifies that on August 31, 2012 the foregoing was served

pursuant to Federal and local rules by e-mail to the following counsel of record:

   Patrick T. McLaughlin, Esq.
   Joshua Dickinson, Esq.
   1 North Brentwood Blvd., Suite 1000
   St. Louis, MO 63105
   (314) 863-7733 (telephone)
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   pmclaughlin@spencerfane.com




                                                /s/Richard A. Voytas, Jr.___




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